                Case: 22-2090     Document: 31   Page: 1   Filed: 09/22/2023




                                     2022-2090
                            ___________________________

              UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                           ___________________________

                                  KOSS CORPORATION,

                                        Appellant,

                                            v.

                                  BOSE CORPORATION

                                         Appellee.
                                _________________________

   Appeal from the United States Patent and Trademark Office, Patent Trial and
                      Appeal Board in No. IPR2021-00297
                        __________________________

 APPELLANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
      FILE RESPONSE TO APPELLEE’S MOTION TO DISMISS
                 __________________________

         Under Federal Circuit Rules 26(b) and 27, Appellant Koss Corporation
respectfully moves for a 14-day extension of the deadline to file its response to
Appellee’s Motion to Dismiss (Dkt. 30), which is currently due October 2, 2023.
This is Appellant’s second request for an extension of time in this appeal and the
first request related to Cross-Appellant’s Motion to Dismiss. Appellant previously
requested, and was granted, a 14-day extension to file its response brief. Dkt. 19.
The extension sought here would extend the due date for Appellant’s response to

507047627.1
              Case: 22-2090   Document: 31   Page: 2   Filed: 09/22/2023




the Motion to Dismiss up to and including Monday, October 16, 2023. Counsel for
Appellee, Bose Corporation, has indicated that Appellee will not oppose this
motion.

Dated: September 22, 2023               Respectfully submitted,

                                        K&L GATES LLP

                                        /s/ Mark G. Knedeisen
                                        Mark G. Knedeisen
                                        Christopher M. Verdini
                                        Michelle Weaver
                                        Laurén K. Shuttleworth Murray
                                        Ragae M. Ghabrial
                                        K&L Gates LLP
                                        210 Sixth Ave.
                                        Pittsburgh, PA 15222
                                        Phone: (412) 355-6500
                                        mark.knedeisen@klgates.com
                                        christopher.verdini@klgates.com
                                        michelle.weaver@klgates.com
                                        lauren.murray@klgates.com
                                        brian.bozzo@klgates.com

                                        Attorneys for Appellant Koss Corporation




507047627.1
               Case: 22-2090      Document: 31       Page: 3     Filed: 09/22/2023




                      UNITED STATES COURT OF APPEALS
                         FOR THE FEDERAL CIRCUIT

                             CERTIFICATE OF INTEREST

           Case Number 2022-2090
      Short Case Caption Koss Corp. v. Bose Corp.
       Filing Party/Entity Koss Corp.


  Instructions: Complete each section of the form. In answering items 2 and 3, be specific as to
  which represented entities the answers apply; lack of specificity may result in non-
  compliance. Please enter only one item per box; attach additional pages as needed and
  check the relevant box. Counsel must immediately file an amended Certificate of Interest if
  information changes. Fed. Cir. R. 47.4(b).




 I certify the following information and any attached sheets are accurate and
 complete to the best of my knowledge.




Date: Sept. 22, 2023                         Signature:     /s/ Mark G. Knedeisen

                                             Name:           Mark G. Knedeisen




                                                i
 507047627.1
               Case: 22-2090       Document: 31   Page: 4       Filed: 09/22/2023




       1. Represented                  2. Real Party in     3. Parent Corporations
           Entities.                       Interest.          and Stockholders.
     Fed. Cir. R. 47.4(a)(1).        Fed. Cir. R. 47.4(a)(2). Fed. Cir. R. 47.4(a)(3).
  Provide the full names of Provide the full names of Provide the full names
  all entities represented by all real parties in interest of all parent
  undersigned counsel in      for the entities. Do not      corporations for the
  this case.                  list the real parties if they entities and all publicly
                              are the same as the           held companies that own
                              entities.                     10% or more stock in
                                                            the entities.
                                   ☒ None/Not Applicable          ☒ None/Not Applicable

              Koss Corp.




                               ☐     Additional pages attached

507047627.1
                  Case: 22-2090    Document: 31   Page: 5   Filed: 09/22/2023




  4. Legal Representatives. List all law firms, partners, and associates that (a)
  appeared for the entities in the originating court or agency or (b) are expected
  to appear in this court for the entities. Do not include those who have already
  entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
              ☒     None/Not Applicable      ☐     Additional pages attached




  5. Related Cases. Provide the case titles and numbers of any case known to be
  pending in this court or any other court or agency that will directly affect or be
  directly affected by this court’s decision in the pending appeal. Do not include the
  originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
  R. 47.5(b).
              ☐     None/Not Applicable      ☐     Additional pages attached
                  Koss Corp. v. Skullcandy, Inc., Nos. 2:21–cv–00203 (D. Utah)

                    Koss Corp. v. PEAG LLC, No. 3:21–cv–01177 (S.D. Cal.)

                    Koss Corp. v. Bose Corp., No. 1:20-cv-12193 (D. Mass.)

                       Koss Corp. v. Vidal, Case No. 2022-2091 (Fed. Cir.)

                    Koss Corp. v. Bose Corp., Case No. 2023-1173 (Fed. Cir.)



   6. Organizational Victims and Bankruptcy Cases. Provide any information
   required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
   and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
              ☒     None/Not Applicable      ☐     Additional pages attached




507047627.1
              Case: 22-2090    Document: 31     Page: 6    Filed: 09/22/2023




                               CERTIFICATE OF SERVICE

         I hereby certify that, on the 22nd day of September, 2023, I electronically

filed the foregoing with the Clerk of Court using the CM/ECF system which

thereby served a copy upon all counsel of record via email or electronic means.


                                                /s/ Mark G. Knedeisen
                                                Mark G. Knedeisen




507047627.1
